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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

REAPERS HOCKEY                         )
ASSOCIATION, INC.,                     )
                                       )
                   Plaintiff,          )                    Case No. 19-cv-01302
                                       )
      v.                               )                    Judge Manish S. Shah
                                       )
AMATEUR HOCKEY ASSOCIATION             )                    Magistrate Judge Jeffrey Cummings
ILLINOIS, INC., TEAM ILLINOIS HOCKEY   )
CLUB, INC., CHICAGO MISSION AAA        )                    JURY TRIAL DEMANDED
HOCKEY CLUB, INC., CHICAGO FURY, INC., )
and CHICAGO YOUNG AMERICANS, INC.,     )
                                       )
                   Defendants.         )

 PLAINTIFF REAPERS HOCKEY ASSOCIATION INC.’S RENEWED MOTION FOR
                     PRELIMINARY INJUNCTION

       Plaintiff Reapers Hockey Association, Inc. (the “Reapers”) renews its motion for

preliminary injunction with the Court pursuant to Rule 65(a) of the Federal Rules of Civil

Procedure against Defendants Amateur Hockey Association Illinois, Inc. (“AHAI”), Team Illinois

Hockey Club, Inc. (“Team Illinois”), Chicago Mission AAA Hockey Club, Inc. (“the Mission”),

Chicago Fury, Inc. (“the Fury”), and Chicago Young Americans Amateur Hockey Association,

Inc. (“CYA”).

       For the reasons fully stated in the Reapers First Amended Complaint (Dkt. No. 6) and its

Memorandum in Support of this Renewed Motion, which is attached hereto and incorporated

herein by reference, the Reapers will be immediately and irreparably harmed, unless it can obtain

a preliminary injunction directing AHAI to not enforce and to rescind an unreasonable restraint of

trade or commerce that artificially restricts the number of Tier I amateur youth hockey clubs in

Illinois to four existing chartered clubs (known as “the Four Club Restraint”) and also obtain a
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preliminary injunction directing AHAI to grant the Reapers (a new, legitimate, and qualified club)

a charter to sponsor a Tier I club by February 15, 2020.

       Reapers now faces the impending threat of losing its 2020-2021 season due to (1)

Defendant Amateur Hockey Association Illinois, Inc.’s (“AHAI’s”) ongoing refusal to grant the

Reapers a charter to operate a fifth Tier I amateur youth hockey club in Illinois; and (2) a recently

adopted AHAI rule that accelerates the beginning of the 2020-2021 season to February 15, 2020.

Reapers has already lost its 2019-2020 season and without immediate judicial intervention the

Reapers will be harmed in the form of lost opportunities to scout talent, to develop relationships

with players and player families, and to recruit and obtain commitments from players in time for

the upcoming 2020-2021 season.

       WHEREFORE, Plaintiff Reapers Hockey Association, Inc. respectfully urges the Court to

order a preliminary injunction as follows:

               (i)     Judgment in favor of the Reapers for preliminary injunctive relief directing

                       that AHAI shall not enforce the Four Club Restraint, and that AHAI shall

                       rescind the Four Club Restraint; and

               (ii)    Judgment in favor of the Reapers for preliminary injunctive relief directing

                       AHAI that it shall grant the Reapers a charter to sponsor a Tier I team no

                       later than February 15, 2020.




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DATED: September 17, 2019            Respectfully submitted,

                                     ULMER & BERNE LLP


                                     By:    /s/ Ronald S. Betman
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on the 17th day of September, 2019, a true

and correct copy of the foregoing PLAINTIFF REAPERS HOCKEY ASSOCIATION INC.’S

RENEWED MOTION FOR PRELIMINARY INJUNCTION, was electronically filed with the

Clerk of the United States District Court for the Northern District of Illinois, using the Court’s

CM/ECF System, which shall send notification of such filing to all parties registered to use ECF

or are represented by a registered E-filer. Parties may access this filing through the Court’s

CM/ECF System.



                                                    /s/ Shawn J. Gebhardt
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